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IN THE UNITED STATES DISTRICT COURT NORTIERNPISTRIC FOF TEXAS
‘TILED

FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION FEB 2 3 2023
UNITED STATES OF AMERICA, et al., § CLERK, U.S. DISTRICT COURT
§ BYE Deputy
Plaintiffs, §
§
V. § 2:21-CV-022-Z
§
! PLANNED PARENTHOOD FEDERATION = §
OF AMERICA, INC., et al., §
§
Defendants. §

ORDER

Before the Court is Defendants’ Motion to Stay (“Motion”) (ECF No. 422), filed on
February 1, 2023. Having considered the Motion, briefing, and relevant law, the Court GRANTS
the Motion.

BACKGROUND

Relator Alex Doe alleges Defendants violated state and federal law by falsely certifying
their compliance with Texas and Louisiana Medicaid rules and regulations, and by failing to repay
the government millions of dollars of Medicaid funds that they knew or should have known they
were obligated to repay. The Seventh Circuit has held that a defendant can avoid liability under the
False Claims Act’s (“FCA”) scienter requirement of committing violations “knowingly” if: “(a) it has
an objectively reasonable reading of the statute or regulation and (b) there was no authoritative
guidance indicating that their practices are likely wrong.” U.S. ex rel. Schutte v. SuperValu Inc., 9 F.4th
455, 468 (7th Cir. 2021), cert. granted sub nom. U.S. ex rel. Schutte v. SuperValu Inc., 143 S. Ct.
644 (2023). The Supreme Court granted certiorari in consolidated cases SuperValu and U.S. ex rel.

Proctor v. Safeway, Inc., 30 F.4th 649, 659 (7th Cir. 2022), cert. granted, 143 S. Ct. 643 (2023).

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The question before the Supreme Court is “[w]hether and when a defendant’s
contemporaneous subjective understanding or beliefs about the lawfulness of its conduct are relevant
to whether it ‘knowingly’ violated the [FCA].” ECF No. 409. Affiliate Defendants cite Super Valu and
Safeway in their motion for summary judgment to argue it was objectively reasonable to conclude they
were entitled to keep Medicaid payments received during the pendency of a preliminary injunction
later vacated. See ECF No. 382 at 43. This Court ordered Plaintiffs to submit a brief to explain whether
Defendants are still liable under the FCA, assuming arguendo that Super Valu and Safeway are affirmed
by the Supreme Court. ECF No. 409. Defendants now ask the Court for a stay until the Supreme Court
decides those cases.

LEGAL STANDARD

The power to stay proceedings “is incidental to the power inherent in every court to control
the disposition of the causes on its docket with economy of time and effort for itself, for counsel,
and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Proper use of this authority
“calls for the exercise of judgment, which must weigh competing interests and maintain an even
balance.” Jd. at 254-55. “Before granting a stay pending the resolution of another case, the court
must carefully consider the time reasonably expected for resolution of the other case in light of the
principle that stay orders will be reversed when they are found to be immoderate or of an indefinite
duration.” Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 545 (Sth Cir. 1983) (internal marks
omitted). “Thus, a stay must be so framed in its inception that its force will be spent within

reasonable limits, so far at least as they are susceptible of prevision and description.” Jd. (internal

marks omitted).

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ANALYSIS

A. Good Cause Exists to Stay This Case

The Court agrees that the Supreme Court’s resolution of Super Valu and Safeway could bear
on the outcome of this case. However the Supreme Court decides this issue, it will most likely
provide valuable guidance for parties and the Court. Once those cases are decided, “this important
case can be litigated without the risk of draining the parties’ and the Court’s resources, only to
start over if legal contours change.” Nairne v. Ardoin, No. CV 22-178-SDD-SDJ, 2022 WL
3756195, at *2 (M.D. La. Aug. 30, 2022). Defendants predict that the Supreme Court will decide
SuperValu and Safeway in June. ECF No. 422 at 7. This would not be an “immoderate” or
“indefinite” stay. Wedgeworth, 706 F.2d at 545. And the Court doubts that Plaintiffs will suffer
significant prejudice from a modest stay that clarifies the FCA’s scienter requirement.
Accordingly, good cause exists to stay this case.

CONCLUSION

For the foregoing reasons, the Court GRANTS the Motion and ORDERS that the case be
stayed until the Supreme Court decides SuperValu and Safeway. Parties are further ORDERED
to file separate briefs explaining the Supreme Court’s decision on those consolidated cases within
3 calendar days of the decision.

SO ORDERED.

February 2.9 2023

MATTHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

